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 7
                 IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                         EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,          )       1:10-cr-00131-AWI
11                                      )
                                        )
12                  Plaintiff,          )
                                        )
13        v.                            )       STIPULATION RE:
                                        )       CONTINUANCE AND ORDER
14   USA v. Nolan et al,                )
                                        )
15                                      )
                    Defendant.          )
16   ___________________________________)

17        Defendants JOSEPH NOLAN, JOSEPH TAYOLOR, MARK MCGRATH, DUSTIN

18   YORK, and JEREMY DUNN by and through their attorneys, ANTHONY P.

19   CAPOZZI, MICHAEL D. NASATIR, ALLISON B. MARGOLIN, CHARLES J. LEE,

20   MONICA A. MIHELL, and JOHN FREDERICK GARLAND, and the United

21   States of America, by and through its attorneys, BENJAMIN B.

22   WAGNER, United States Attorney, and KAREN A. ESCOBAR, Assistant

23   United States Attorney, hereby enter into the following

24   stipulation:

25        1.   The parties to the above-captioned matter agree to vacate

26   the November 22, 2010, hearing date, recently set by the Court sua

27   sponte, and reset the matter for January 10, 2011, at 1:30 p.m.

28        2.   The parties stipulate that the continuance is necessary

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 1   to ensure defense adequate time to conduct further investigation.

 2        3.   The parties further stipulate that time should be

 3   excluded in the interest of justice.

 4

 5   DATED: November 4, 2010                    Respectfully submitted,

 6                                               BENJAMIN B. WAGNER
                                                 United States Attorney
 7
                                              By: /s/ Karen A. Escobar
 8                                                KAREN A. ESCOBAR
                                                  Assistant U.S. Attorney
 9

10                                                 /s/ W. Anthony P. Capozzi
                                                   ANTHONY P. CAPOZZI
11                                                 Attorney for Defendant
                                                   JOSEPH NOLAN
12

13                                                 /s/ W. Michael D. Nasatir
                                                   MICHAEL D. NASATIR
14                                                 Attorney for Defendant
                                                   JOSEPH NOLAN
15

16                                                 /s/ W. Allison B. Margolin
                                                   ALLISON B. MARGOLIN
17                                                 Attorney for Defendant
                                                   JOSEPH TAYLOR
18

19                                                 /s/ W. Charles J. Lee
                                                   CHARLES J. LEE
20                                                 Attorney for Defendant
                                                   MARK MCGRATH
21

22                                                 /s/ W. Monica A. Mihell
                                                   MONICA A. MIHELL
23                                                 Attorney for Defendant
                                                   DUSTIN YORK
24

25                                                 /s/ W. John F. Garland
                                                   JOHN F. GARLAND
26                                                 Attorney for Defendant
                                                   JEREMY DUNN
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 1                                 O R D E R

 2        Having read and considered the foregoing stipulation,

 3        IT IS THE ORDER of the Court that the current hearing date of

 4   November 22 is hereby vacated in this matter and is reset for

 5   January 10, 2010, at 1:30 p.m.

 6        The Court further finds that the ends of justice served by

 7   granting the requested continuance outweigh the best interests of

 8   the public and the defendants in a speedy trial, in that the

 9   failure to grant the continuance would deny the government

10   continuity of counsel and would deny the defendant an opportunity

11   to further investigate and properly negotiate.

12        WHEREFORE IT IS HEREBY ORDERED that time shall be excluded in

13   the interest of justice, pursuant to 18 U.S.C. § 3161(h)(8)(A).

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15   IT IS SO ORDERED.
16
     Dated:      November 10, 2010
17   0m8i78                     CHIEF UNITED STATES DISTRICT JUDGE
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